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           EXHIBIT 4
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From:                            Cari Laufenberg
Sent:                            Wednesday, April 27, 2022 2:31 PM
To:                              Blume, Robert C.; Lesley Weaver; Matthew Melamed
Cc:                              Ring, Rose; Kutscher Clark, Martie; Swanson, Alexander; Stein, Deborah L.; Buongiorno,
                                 Matt; Herbert, Kelly E.; Falconer, Russ; Davis, Colin B.; Anne Davis; Derek Loeser; David
                                 Ko; Benjamin Gould
Subject:                         RE: Preservation 30(b)(6) meet & confer request


Rob and Team,

Thank you for the continued updates on the 30(b)(6) designees/topics/dates/times. We have been attempting to
synthesize all of the various emails and have identified a number of issues which we address below and welcome further
discussion on via phone or zoom:

   1.        Given Facebook’s proposed splitting of topics across witnesses as well as the number of 30(b)(6) witnesses
             that Facebook intends to put forward, Plaintiffs believe that 16 hours for this 30(b)(6) deposition is not
             sufficient. We request 5 additional hours for Topics 1-4, 6-10 for a total of 21 hours. To the extent
             Facebook will not agree to this, we can raise it with the discovery mediators on 5/5 if not before. We
             think it best to defer what if any additional time is needed for Topic 5 to a later date given the ongoing
             work with the Special Master. Additionally, the parties should meet and confer with regard to the time
             allocated for the ESI Preservation 30(b)(6).

   2.        You indicated for the first time below that Alison Hendrix would also be addressing Topics 2(b) and 2(d) in
             addition to Topics 1 and 3. We assumed these topics would be addressed on a different day than this
             Friday when she is testifying on Topics 1 and 3, consistent with our understanding that we had only
             confirmed Topics 1 and 3 for this Friday. Please propose date(s) for us to depose her on Topics 2(b) and
             2(d).

   3.        We ask that the deposition of Amy Lee on Topic 10, scheduled for May 3, please start one hour earlier -- at
             8:00 a.m. PT.

   4.        We are unable to start earlier than 7 a.m. PT for the deposition of Simon Cross and cannot commit to a
             stop time of 8:00 p.m. London time. Additionally, we will need an additional date to depose Mr. Cross on
             Topics 2(a) and 2(c), which you indicated he would be covering for the first time in your email below.

   5.        Given the status of VPPA-related document production, we will most likely need a new date for Topic
             9. We met and conferred with your colleagues earlier today regarding Plaintiffs’ 5 th Set of RFPs, including
             several RFPs implicating this topic, but Facebook was not in a position today to indicate when it will begin
             producing responsive documents. We expect a written response from your colleagues by Tuesday or
             Wednesday of next week and I would propose we take up discussion of whether a new deposition date
             will be required after Plaintiffs have had the opportunity to review Facebook’s response.

   6.        We are available to meet and confer to discuss the issue of targeted advertising as well as Topic 8. Please
             propose times in the next few days that work for you.

   7.        Finally, I wanted to address your comments regarding Facebook’s objections to Plaintiffs’ 30(b)(6)
             notice. We used the term “boilerplate” because that was the term your colleagues used to characterize
             Facebook’s objections to us prior to the case management conference with Judge Chhabria on March

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              30. (On the same call, your colleagues also referred to the objections as “really nothing.”) Plaintiffs
              prompted this conversation so we could understand if Facebook was intending to stand on these
              objections. Had we understood the objections to be anything other than “boilerplate” and “nothing,” we
              would have promptly raised them with Judge Chhabria later that day.

Please let us know when you would like to discuss further.

Thank you,
Cari



From: Blume, Robert C. <RBlume@gibsondunn.com>
Sent: Monday, April 25, 2022 11:15 AM
To: Lesley Weaver <lweaver@bfalaw.com>; Cari Laufenberg <claufenberg@KellerRohrback.com>; Matt Melamed
<mmelamed@bfalaw.com>
Cc: Ring, Rose <RRing@gibsondunn.com>; Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Swanson,
Alexander <ASwanson@gibsondunn.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Buongiorno, Matt
<MBuongiorno@gibsondunn.com>; Herbert, Kelly E. <KHerbert@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>
Subject: Re: Preservation 30(b)(6) meet & confer request


Cari/Lesley/Matt:
I write to follow up on our call about 30(b(6) designees. As I mentioned, some of the individuals we have already
designated will cover additional topics. Specifically, Ali Hendrix, already designated on Topics 1 & 3, will also cover
Topics 2(b) and 2(d)—except as those topics relate to targeting advertising. She will also cover the aspect of Topic 6 that
seems to overlap with her other topics (“the communication of this technology to users, including the drafting of
Facebook’s Terms of Service, SRR and Data and Privacy Policies relating Friend sharing.”). Simon Cross will address the
balance of Topics 2 and 6—except, again, as related to targeted advertising. We need to have a better understanding as
to the nature of the testimony you are seeking there to ensure we find the right person. We also need to meet and
confer with you on Topic 8. We have been trying to identify a witness but are struggling to understand the topic as
written.

Relatedly, last week Matt wrote to one of my colleagues about “boilerplate” objections to the 30(b)(6) notice and asking
to confirm whether or document objections were also “boilerplate.” Our document objections are not boilerplate; if
witnesses testify about documents to which you think Plaintiffs are entitled under the Federal Rules of Evidence, we will
meet and confer with you about them. I’d also like to note that, contrary to your suggestion otherwise, our objections
to the notice were tailored to the notice. We agreed to provide witnesses to testify to the best of their ability
notwithstanding the issues we had with how the topics were described.

Please let me know if you would like to discuss.

RCB

Robert C. Blume

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On Apr 25, 2022, at 5:05 PM, Blume, Robert C. <RBlume@gibsondunn.com> wrote:

 Lesley:
As discussed, we wanted to schedule a meet and confer to discuss our concerns with both the technical elements and
the substantive topics set forth in your recent preservation 30(b)(6) deposition notice. We are happy to schedule a call
for today or late tomorrow (with a follow-up on Wednesday). That said, I know you are on vacation this week so if you
want to settle in for a day or so, we can talk on Wednesday (after I return, at least) and follow up on Thursday (or
Friday).
Let us know what works.
Best.
RCB

Robert C. Blume

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